                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                          )
                                                   )          Case No. 1:15-CR-47-CLC-SKL
 v.                                                )
                                                   )
 JOSE OSORIO GARCIA                                )

                                            ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Counts One and Five of the eight-

 count Superseding Indictment; (2) accept Defendant’s plea of guilty to Counts One and Five of the

 Superseding Indictment; (3) adjudicate Defendant guilty of the charges set forth in Counts One and

 Five of the Superseding Indictment; (4) defer a decision on whether to accept the amended plea

 agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing in this

 matter [Doc 92]. Neither party filed a timely objection to the report and recommendation. After

 reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation [Doc. 92] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Counts One and Five of the

                Superseding Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Counts One and Five of the Superseding Indictment is

                ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

                Five of the Superseding Indictment;

        (4)     A decision on whether to accept the amended plea agreement is DEFERRED until




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             sentencing; and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on November 19, 2015 at 2:00 p.m. [EASTERN] before

             the Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                                /s/____________________________
                                                CURTIS L. COLLIER
                                                UNITED STATES DISTRICT JUDGE




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